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                                       8                               UNITED STATES DISTRICT COURT

                                       9                              NORTHERN DISTRICT OF CALIFORNIA
                                      10

                                      11 LIGHT & WONDER, INC.,                               Case No. 4:24-cv-04627

                                      12                 Plaintiff,                          NOTICE OF VOLUNTARY DISMISSAL
                                                                                             PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)
2029 Century Park East, Suite 2500N
   Los Angeles, California 90067




                                      13          v.
        P (310) 579-9600




                                      14 ZEROO GRAVITY GAMES, LLC,

                                      15                 Defendant.

                                      16

                                      17         Pursuant to F.R.C.P. 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the plaintiff

                                      18 Light & Wonder, Inc. and their counsel hereby give notice that the above-captioned action is

                                      19 voluntarily dismissed, without prejudice, against the defendant Zeroo Gravity Games, LLC.
                                      20
                                           DATED: October 25, 2024                  FRANKFURT KURNIT KLEIN + SELZ PC
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                                      22

                                      23                                            By:          /s/ Jeremy S. Goldman
                                      24                                                  Jeremy S. Goldman
                                                                                          Attorneys for Plaintiff Light & Wonder, Inc.
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                                                                                    1                            Case No. 4:24-cv-04627
                                                        NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)
